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IN THE UNITED STATES COURT OF APPEALS FILED

U.S. COURT OF APPEALS
FOR THE ELEVENTH CIRCUIT EERO oInCLIT

No, 94-2182 AUG | 0 i904

D. C. Docket No. 94-46-CIV-T-24A MIGUEL J. CORTEZ’
UNITED STATES OF AMERICA, CLERK
Piaintiff-Appellee, 5
versus

ACCOUNT SERVICES INC., a Florida
corporation, Registered Agent
George Feldkamp; CAN OF PINELLAS
INC., a Florida corporation,
Registered Agent Anthony Amico;
GEORGE FELDKAMP; CHARLES R. DARST;
GEORGE N. PAPPAS; ANTHONY AMICO,

Defendants~Appeliants,.

B & D ENTERPRISES OF HERNANDO,
etc., ET AL.,

Defendants.

Appeal from the United States District Court
for the Middle District of Florida

" (August 10, 1994)

Before BLACK and BARKETT, Circuit Judges, and HILL, Senior Circuit
Judge.

PER CURIAM:

Defendants-Appellants {hereinafter "defendants") appeal the
district court’s issuance of a preliminary injunction, arguing,
inter alia, that the failure to hold an evidentiary hearing prior

to issuing the injunction constituted an abuse of discretion.
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On January 11, 1994, plaintiff-appellee (hereinafter "the
government") filed a complaint for an injunction and a motion for
an ex parte temporary restraining order, preliminary injunction,
and expedited discovery, asserting that defendants were engaged in
a fraudulent scheme violative of the federal mail, wire and bank
fraud statutes. 18 U.S.c. § 1345 (1994). In support of its
allegations, the government submitted one affidavit, in which the
affiant, a United States Postal Inspector, relied in part on the
assertions of a former employee of defendant Account Services, and
on the statements of several of defendants’ dissatisfied
customers.? On January 13, 1994, the government seized

defendants’ business records” from their premises pursuant to a

search warrant, and simultaneously served defendants with the

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complaint and ex parte temporary restraining order.

Defendants moved to compel the return of their records prior
to the preliminary hearing and the district court referred the
motion to the magistrate for a report and recommendation. However,

on January 28, 1994, before the magistrate filed his

t Affiant relied on statements customers made to hin,

directly, as well as on confidential-source statements that an FBI
agent relayed to him, and on defendant-employee statements
overheard by a postal carrier for one of the defendants and
conveyed to affiant through the manager of the Hudson Branch Post
Office. (Affidavit of William L. Lewers, U.S. Postal Inspector, at
14-16, 31-33, 38, and 43.)

2 Among the materials seized were “verification tapes" which
are recordings of the follow-up conversations between customers and
salaried employees ("verifiers"}) confirming the customers’
understanding of defendants’ program. (The customers initially
spoke with commissioned sales people who explained the benefits and
requirements of the program.) Defendants maintain and refer to

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these verification tapes in the event of customer inquiries.

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recommendation, thé district court denied defendants’ request to
continue the preliminary injunction hearing and to hold an
evidentiary hearing, and entered the preliminary injunction. on
February 9, 1994, the magistrate found that the government had
acted and continued to act in callous disregard of defendants’
constitutional rights by failing to expeditiously allow defendants
access to their property, particularly in light of the fact that
the government did not dispute that defendants had a need for the
property seized, and the government had been in possession of the
property for nearly a month. In recommending that the district
court grant defendants’ motion, the magistrate noted that there was
‘no excuse for [the government’s] failure to expeditiously allow

[defendants] to copy all of the documents, records, and computer

software that has been seized." (R. at 101~-05-06.)

Defendants argue that the government’s seizure and possession
of their records prevented them from meaningfully defending
themselves against the government’s charges, and that the district
court should have held an evidentiary hearing. We hold that ina
case such as this, where the parties presented conflicting
affidavits, the government’s affidavit was based in part on the
hearsay statements of defendants’ customers for whom verification
tapes might have existed, and the government had defendants’
records in its possession, the district court should have permitted
defendants access to those records before considering the request

for an evidentiary hearing.

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Although there is no automatic right to an evidentiary hearing
on a motion for a preliminary injunction, under all of the
circumstances presented here, the failure to permit the defendants
access to their records before considering the request for an
evidentiary hearing was an abuse of discretion. Accordingly, we
vacate the preliminary injunction and remand this action for
further proceedings, and we direct the district court to order the
government to immediately return defendants’ records and materials
to enable them to prepare for any further action.

VACATED and REMANDED.

